






Opinion issued August 31, 2009














In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-09-00354-CR

____________


SHINIKKA WASHINGTON, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 174th District Court 

Harris County, Texas

Trial Court Cause No. 985170






MEMORANDUM  OPINION

	On August 27, 2009, appellant  filed a motion to dismiss the above-referenced
appeal.  The motion complies with the Texas Rules of Appellate Procedure.  See Tex.
R. App. P. 42.2(a).

	We have not yet issued a decision.  Accordingly, the motion is granted and the
appeal is dismissed. 

	The Clerk of this Court is directed to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Bland and Massengale.   

Do not publish.  Tex. R. App. P. 47.2(b).


